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                              IN THE CIRCIIIT COURT. .
                      FOR PRINCE GEORGE'S COUNTY, MARYLAND

    LINDA THOMAS
    1403 N 29t:h Street
    Philadelphia, Pennsylvania 19121

                            Plaintiff,

                vs.                                    Case No.:                 - ~( ,o
    MGM NATIONAL HARBOR, LLC                       )
    3950 Las Vegas Boulevard                       )                               _
    Las Vegas, Nevada 89119

    SERVE ON:
    CSC-Lawyers Incorporating 3ervice Co.          )                ~     .__,     c~••.;
                                                                                     ~i
    7 St. Paul Street                                               ~
    Suite 820                                      )                -•_    ~~      r~=~
    Baltimore, Maryland 21202

                            Defendant.


                      COMPLAINT AND DEMAND FOR JIIRY TRIAL

           Plaintiff, Linda Thomas, by undersigned counsel, hereby files

    this Complaint against MGM National Harbor, LLC, Defendant herein,

    and alleges as follows:

                            I. JIIRISDICTION AND VENIIE

           1.   Plaintiff    invokes     the   jurisdiction   of        this     Court
    pursuant to Md. Code Ann., Cts. and Jud. Proc. Article, § 6-101 et

    seq.
           2.   Venue is proper in this Court pursuant to Md. Code Ann.,

    Cts. & Jud. Proc. Article, §§ 6-201 and 6-202.




                                                                   Exhibit A
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     3.   The amount in contr-oversy herein exceeds the sum of

$30,000.00, exclusive of interest and costs.

                                II. PARTITS

     4.   Linda Thomas ("Thomas") is a citizen of the State of

Pennsylvania, with a residence located at 1403 N. 29th Street,

Philadelphia, Pennsylvania 91121.

     S.   MGM National Harbor, LLC ("MGM") is a Maryland based

company with its principal place of business located at 165

Waterfront   Street,    National    Harbor,   Maryland     20745.   Upon

information and belief, MGM National Harbor, LLC owns, operates,

and maintains the MGM National Harbor Casino located at 101 MGM

National Avenue, Oxon Hill, Maryland 20745.

                              III. FACTS

     6.   On or about April 4, 2019, Thomas was an invitee on the

property known as the MGM National Harbor Casino located at 101

MGM National Avenue, Oxon Hill, Maryland 20745 ("Premises") and

entered the women's bathroom.

     7.   As Thomas was exiting the bathroom stall, a female

employee of Defendant, MGM, was mopping the bathroom floor and

directed Thomas where to walk to avoid the wet floor. As Thomas

proceeded towards the sink as instructed by the MGM employee, she

slipped on a liqquid substance which caused her to fall to the

ground causing her to sustain profound and painful injuries to her
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knees, shoulders, back, neck, ankles, and body. As a result of the

injuries sustained, Thomas was forced to incur substantial medical

bills. As of the date of the filing of this Complaint, Thomas is

still experiencing pain and discomfort due to the injuries she

sustained as a result of her fall and, upon information and belief,
                                                                  ,

may be in need of future medical care.

     8.   At all times prior to her fall, Thomas maintained a

proper and vigilant outlook as she proceeded through the bathroom

located on the Premises, and her actions in no way contributed to

her fall. To the contrary, Thomas' injuries were solely the result

of the negligence of the Defendant, MGM.

     9.    Prior to this accident, MGM knew o-r should have know

that water and/or other liquid substances had accumulated on the

floor of the bathroom where Thomas fell. Notwithstanding said

knowledge and notice Defendant, MGM, failed to (1) take reasonable

actions to cure the hazardous condition which it knew or should

have known could result in injuries to its patrons, and (2) provide

any sort of ineaningful warning to Thomas, or others lawfully on

the premises, of the dangerous condition of the liquid on the floor

of the Premises.

                                 COIINT I
                              (Negli.gence)

     10. Plaintiff      hereby    incorporates     by    reference   the

allegations contained in paragraphs 1-9.
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     11. MGM, at all times material to this Complaint, was in

possession, custody and control of the MGM National Harbor Casino

located at 101 MGM National Avenue, Oxon Hi11, Maryland 20745. As

such, MGM owed a duty to Thomas, and all invitees who were lawfully

on the premises, to (1) divert Thomas, and all patrons lawfully on

the premises, away from those portions of the bathroom floor that

created a hazardous condition; (2) properly maintain the bathroom

floor in a manner suitable for pedestrian traffic; and/or (3) warn

Thomas, and all patrons lawfully on the premises, of the dangerous

condition located in the bathroom.

     12. On or about April 4, 2019, MGM breached the duties of

care it owed to Thomas by failing to (1) take reasonable actions

to ensure that the bathroom floors on the Premises were free from

the dangerous accumulation of water and/or liquid substances, and

(2) failing to warn Thomas, and other patrons lawfully on the

premises, of the aforementioned dangerous conditions of which it

knew or should have known existed as of the time of Thomas' fal1.

     13. As a result of MGM's breaches of the duties of care owed

to Thomas, Thomas sustained substantial damages.

     WHEREFORE, Plaintiff, Linda Thomas, prays that the Court

enter judgment in her favor and against Defendant, MGM National

Harbor, LLC, for compensatory damages in an amount exceeding

$75,000.00, with the exact amount to be determined at trial, plus
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pre-judgment interest, costs, and such other and further relief as

justice may require.

                                 Respectfully submitted,



                                 Thomas C. Costello, #9412430142
                                 Matthew T. Holley, ##1306190131
                                 tcc@costellolawgroup.com
                                 mth@costellolawgroup.com
                                 Costello Law Group
                                 409 Washington Avenue    ~
                                 Suite 410
                                 Towson, Maryland 21204            ~T
                                  (410)    832-8800

                                 Attorneys for Plaintiff,
                                 Linda Thomas




                          JIIRY TRIAL DEMANDED

     Plaintiff hereby demands and request that all claims, actions

and causes of action set forth in the Complaint filed for the

above-captioned claim be tried before a jury.



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                                  Mat     ew T. Ho11ey
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      IN THE CIRCUIT COURT FOR Prince George's County
                                                                         (Clty or ounty)
                       CiVii. - NON-nOMF.STIC CASE INFORMATION REPORT .
                                                  12IRECTIONS
         Plaintiff: This Information Report must be completed and attached to the complaint filed with the
      Clerk of Court unless your case is exempted from the requirement by the Chief Judge of the Court of
      Appeals pursuant to Rule 2-111(a).
        Defendant: You must file an Information Report as required by Rule 2-323(h).
                        THIS INFORMATION REPORT CANNOT BE ACCEPTED AS A PLEADING
      FORM FILED BY: OPLAINTIFF QDEFENDANT                            CASE NUMBER_
                                                                                                  (Clerk to msert
      CASE NAME• Linda Thonias                                          vs• MGM National Harbor, LLC
                        ~rianitiff                                                             Defendant
      PARTY'S NAME: Linda Thomas                                                         PHONE: 410-832-8800
      PARTY'S ADDRESS: 1403 N. 29th Street, Philadelphia, Pennsylvania 19121
      PARTY'S E-MAIL:
       If represented by an attorney:
        ARTY'S ATTORNEY'S NAME: Matthew T. Holley                                       PHONE: 410-832-8800
      PARTY'S ATTORNEY'S ADDRESS:409 Washington Avenue, Suite 410, Towson, MD 21204
      PARTY'S ATTORNEY'S E-MAIL: mth@costellolawgroup.com
      JURY DEMAND? MYes ONo
      RELATED CASE PENDING? OYes ®No If yes, Case #(s), if known
      ANTICIPATED LENGTH OF TRIAL?:                           hours      2 days
                                                      PLEADING TYPE
      New Case:         ®Original               O Administrative Appeal O Appeal.
      Existing Case: 0 Post-Judgment            O Amendment
      Vffiling fn an existing case skip Case Cate o/ Subcate o section - go to Relief section.
                     IF NEW CASE: CASE CATEGORY/SUBCATEGORY (Check one box.)
      1'UK'1'S                      0 Govemment                  PUBLIC LAW                    0 Constructive Trust
          Asbestos                  ❑ Insurance                  ❑ Attorney Grievance
          Assault and Battery       O Product Liability                                        ❑ Contempt
      ~ Business and Commercial PROPERTY                         OBond Foifeiture Remission 0 D osition Notice
      ❑ Conspiracy                                               O Civil Rights                0 Dist Ct Mtn Appeal
      ~ Conversion                  0 Adverse Possession         ~ County/MncP1 Code/Ord ~ Financial
      ❑ Defamation                  I~ Breach of Lease           Q Election Law                ~ Grand Jury/Petit Jury
                                    u Detinue                    M minent Domain/Condemn. Q Miscellaneous
      Q False Arrest/Imprisonment Distress/Distrain
      Q Fraud                                                    0 Environment                 ❑ Perpetuate Testimony/Evidence
                                    Q Ejectment                  ❑ Error Coram Nobis
      O Lead Paint - DOB of         0 Forcible Entry/Detainer C3                               ❑ Prod. of Documents Req.
          Youngest Plt:             D Foreclosure                   Habeas Co~ us              Q Receivership
      0 Loss of Consortium             0 Commercial              C3 Mandamus                   Q Sentence Transfer
      Q Malicious Prosecution          ❑ Residential            0   Prisoner Rights            U Set Aside Deed
      Q Malpractice-Medical            ❑ Currency or Vehicle ~      Public Info. Act Records O Subpoea Issue/Quash
      Q Malpractice-Professional       C3 Deed of Trust          Q Quararitine/Isolation       Q Trust Established
      0 Misrepresentation              0 Land Installments       Q Writ of Certiorari          O Trustee Substitution/Removal
      0 Motor Tort                     0 Lien                    EMPLOYMENT                    Q Witness Appearance-Compel
      0Negligence                      0 Mortgage                                              PEACE ORDER
      O Nuisance                       O Right of Redemption ~~A                               O Peace Order
      rXl Premises Liability           0 Statement Condo         0  Conspiracy
      Q Product Liability           ~ Forfeiture of Property / O EEO/HR                        EQUITY
                                                                                               D
      0 S ecific Performance           Personal Item             Q FLSA                           Declaratory Judgment
          Toxic Tort                C3 Fraudulent Conveyance 0 FMI,,4                          ❑ Equitable Relief
          Trespass                  0 Landlord-Tenant            Q Workers' Compensation QInJanctive Relief
      ~ Wrongful Death              Q Lis Pendens                0 Wrongful Tennination        Q Mandamus
      CONTRACT                      O Mechanic's Lien                                          OTHER
      • Asbestos                    ~  Ownershi  P               INDEPENDENT
                                       Partition/Sale in Lieu    PROCEEDINGS                   C3 Accounting
      ❑ Breach                                                                                  0 Friendly Suit
      Q Busi ess d Commercial Q Quiet Title                      O Assumption of Jurisdiction Q Grantor in Possession
      O Con~essed~Judgment          ~ Rent Escrow                Q
          (Cont'd)                  O Return of Seized Property Authorized Sale                0 Ma~'land Insurance Administration
      0   Construction              ~  Right  of Redemption      0  Attorney Appointment       O Miscellaneous
      0 Debt                        0  Tenant  Holding   Over    0  Body  Attacbment  Issuance Q  Specific Transaction
      C3 Fraud                                                   O Commission Issuance         13 Structured Settlements

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1.             IF NEW OR EXISTING CASE: RELIEF (Check All that Annlv)                               I
 0 Abatement                   Earnings Withholding Q Judgment-Interest     Cl Retum  of Property
 Q Administrative Action C3 Enrollment              Q Judgment-Summary Q Sale of Property
 0 Appointment of Receiver 0 Expungement            O Liability             Cl Specific Performance
 0 Arbitration             `Q Findings of Fact      Q Oral Examination      0 Writ-Error Coram Nobis
 Q Asset Determination     Q Foreclosure            0 Order                 13 Writ-Execution
 0 Attachment b/f Judgment 0 Injunction             OOwnership of Property Q Writ-Garnish Property
 Q Cease & Desist Order    Q Judgment-Affidav3t                  Property 0 Writ_H               es
 O Condemn Bldg            Q Judgment-Attorne Feesp 0                                 me 1as Corpus
                                                      Peacel Orde
 ~ Contempt                 ~ Judgment-Confessed ~Possession                p Writ-Mandamus
 0 Court Costs/Fees        0 Judgment-Consent                               O  Writ-Possession
                                                    Q Production of Records
 It~ Damages-Compensatory O Judgment-Declaratory O Quarantine/Isolation Order
 Q Damages-Punitive         C3 Judgment-Default     QReinstatement of Employment

Ifyou fndicated Liability above, mark one of the following. This information is not an admission and
may not be used for any purpose other than Track Assignment.
OLiability is conceded. OLiability is not conceded, but is not seriously in dispute. IL~Liability is seriously in dispute.

        MONETARY DAMAGES                    o not include Attorne 's Fees Interest, or Court Costs

  0 Under $10,000           13 $10,000 - $30,000           0 $30,000 - $100,000            0 Over $100,000

  ® Medical Bills $        TBD            D Wage Loss $                        0 Property Damages $
                      ALTERNATIVE DISPUTE RESOLUTION INFORMATION

 Is this case appropriate for referral to an ADR process under Md. Rule 17-101? (Check all that apply)
 A. Mediation        BYes ONo                                C. Settlement Conference It~Yes ONo
 B. Arbitration      DYes ONo                                D. Neutral Evaluation     OYes 0No

                                          SPECIAL RE UIREMENTS
 ~ If a Spoken Language Interpreter is needed, check here and attach form CC-DC-041
O If you require an accommodation for a disability under the Americans with Disabilities Act, check
   here and attach form CC-DC-049
                                 ESTIMATED LENGTH OF TRIAL
With the exception of Baltfmore County and Baltimore City, please fill in the estimated LENGTH OF
TRL4L•                             (Case will be tracked accordingly)
                 O 1/2 day of trial or less               0 3 days of trial time
                    0 1 day of trial time                        13 More than 3 days of trial time
                    It7 2 days of trial time

                BUSINESS AND TECHNOLOGY CASE MANAGEMENT PROGRAM
 For all jurisdictions, if Business and Technology track designation under Md. Rule 16-308 is reguested,
                  attach a duplicate copy of complaint and check one of the tracks below.

              O Expedited- Trial within 7 months of               O Standard - Trial within 18 months of
                      Defendant's response                                 Defendant's response
                                      EMERGENCY RELIEF REQUESTED


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                       COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
                             MANAGEMENT PROGRAM (ASTAR) .

        FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO ASTAR RESOURCES JUDGES under
    Md. Rule 16-302, attach a duplfcate copy of complaint and check whether assignment to an ASTAR is reguested.

                 Cl Expedited - Trial within 7 months of       0 Standard - Trial within 18 months of
                           Defendant's response                         Defendant's response
    IF YOUARE FILING YOUR COMPLAINT INBALTIMORE CITY, OR BALTIMORE COUNTY,
     LEASE FILL OUT THE APPROPRL4TE.BOX BELOW.
                CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)

    ❑      Expedited                 Trial 60 to 120 days from notice. Non jury matters.
    ❑      Civil-Short               Tria1210 days from first answer.
    ❑      Civil-Standard            Tria1360 days from first answer.
    ❑      Custom                     Scheduling order entered by individual judge.
    ❑      Asbestos                   Special scheduling order.
    ❑      Lead Paint                Fill in: Birth Date of youngest plaintiff
    ❑      Tax Sale Foreclosures      Special scheduling order.
    ❑      Mortgage Foreclosures     No scheduling order.

                               CIRCUIT COURT FOR BALTIMORE COUNTY

    ❑         Expedited          Attachment Before Judgment, Declaratory Judgment (Simple),
        (Trial Date-90 days)     Administrative Appeals, District Court Appeals and Jury Trial Prayers,
                                 Guardianship, Injunction, Mandamus.

    ❑          Standard          Condemnation, Confessed Judgments (Vacated), Contract, Employment
        (Trial Date-240 days)    Related Cases, Fraud and Misrepresentation, Intemational Tort, Motor Tort,
                                 Other Personal Injury, Workers' Compensation Cases.

    ❑ Extended Standard          Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or
     (Trial Date-345 days)       Personal Injury Cases (medical expenses and wage loss of $100,000, expert
                                 and out-of-state witnesses (parties), and trial of five or more days), State
                                 Insolvency.

    ❑          Complex           Class Actions, Designated Toxic Tort, Major Construction Contracts, Major
        (Trial Date-450 days)    Product Liabilities, Other Complex Cases.


                   << s /JO2 1               _
            --       ITate                                                Signature of Counsel / Party
        409 Washington Avenue, Suite 410
                    Address                                                      Matthew T. Holley
                                                                                   Printed Name
    Towson                  MD       21204
             City           State   Zip Code



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